     Case: 1:09-cr-00967 Document #: 11 Filed: 11/25/09 Page 1 of 2 PageID #:25



                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION



UNITED STATES OF AMERICA                 )
                                         )     No.    09 CR 967
             v.                          )
                                         )     Hon. Amy J. St. Eve
BARTOLO LUCATERO                         )


                                PROTECTIVE ORDER

      Upon the agreed motion for a protective order pursuant to Fed. R. Crim. P.

16(d)(1), it is hereby ordered as follows:

      1.     All Title III applications, affidavits, and orders produced by the

government in connection with this case, and all other investigative materials and

reports disclosed by the government in original or redacted form, may be utilized by

the charged defendant and his counsel solely in connection with the defense of this case

and for no other purpose and in connection with no other proceeding. The materials

and their contents, and any notes, records or copies of any kind that defense counsel

or the charged defendant may make relating to the contents of materials provided by

the government shall not be disclosed either directly or indirectly, verbally or in

writing, to any person or entity other than the charged defendant, his counsel, such

other persons as are reasonably employed by them as may be necessary to prepare a

defense, or such other persons as to whom the Court may authorize disclosure. These

restrictions do no apply to documents or materials that are public record, including,

but not limited to, transcripts of proceedings; documents, recordings and other

materials that have been received in evidence at public hearings or proceedings; or

documents or materials that are otherwise in the public domain.
     Case: 1:09-cr-00967 Document #: 11 Filed: 11/25/09 Page 2 of 2 PageID #:26



      2.     Intentional violation of this Order is punishable as a contempt, and may

result in the imposition of civil and criminal sanctions. However, nothing contained

in this protective order shall preclude any party from applying to the Court for further

relief or for modification of any provision hereof.



                                                E N T E R:




                                                AMY J. ST. EVE
                                                United States District Judge


November 25, 2009
DATE




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